
OPINION OF THE COURT
Motion to dismiss the appeal of the appellant People granted and the appeal dismissed for failure to comply with rule 500.7 (subd [a]).
NOTICE TO THE BAR
The New York State Court of Appeals announced today that its automatic nine-month dismissal of stale appeals rule will be applied to all criminal appeals, that is, those taken by the People as well as by defendants.
The rule (22 NYCRR 500.7 [a]) has been applied strictly on the civil side of the court’s calendar for about five years and now will be applied uniformly to all the court’s pending business without the necessity of a formal motion.
(See People v Elliott, motion to dismiss People’s appeal granted, decided today.)
